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JPSO CRIME REPORT ADM SEC Signal Rep Area Item # Report Type Date Time

ORI LA0260000 67 1313 F-21850-22 S$ 20-JUL-2022 1600

Day of Wk. Begin Date Begin Time End Date End Time Location of Offense

WED 22-JUN-2022 0430  30-JUN-2022 1600 2019 METAIRIE RD METAIRIE 70003

Reporting Officer Responding Detective Supervisor oO T

ANDREW BARTHOLOMEW =

PR: 116737 Radio:: JP779 PR: Radio: PR: Radio: a

Arrived: 201630 Notified: Notified: RX

Completed: 201700 Arrived: Arrived:

= ~ - = Cc

REPORTING PERSON g
Name: PAMELA BALDASSARO Race: WHITE Sex: FEMALE

DOB: 14-JUN-1954 Age: 68

Address: 234 W DAVID PW
City/SvZip: METAIRIE, LA 70005

Phone: (504) 621-1924

Identify Suspect? Voluntary Statement?

Employer/School:: BUSINESS OWNER/SECOND ACT

Address: 2019 METAIRIE RD
City/Stzip: METAIRIE, LA 70003

Phone: (504) 621-1924

VICTIM
Type BUSINESS

Victim Sequence Number: 1
SECOND ACT

2019 METAIRIE RD
City/SvZip: METAIRIE, LA 70003
Phone: (504) 621-1924

Name:

Address:

For Insurance Purposes?

OFFENSE

PLAINTIFF’S

Offense Sequence Number: 1 Victim: 1 Suspect: 1 Suspected HT? N
R.S. Number: RS14:67B(2) Title: THEFT $5000-$24999
Attempted/Completed: COMPLETED Location Type: SPECIALTY STORE Number of Premises:
Criminal Activity 1: OTHER Weapon/Force Type 1: NONE
Offense Sequence Number: 2 Victim: 1 Suspect: 2 Suspected HT? N
R.S. Number: RS$14:67B(2) Tite: THEFT $5000-$24999
Attempted/Completed: COMPLETED Location Type: SPECIALTY STORE Number of Premises:
Criminal Activity 1: OTHER Weapon/Force Type 1: NONE
Offense Sequence Number: 3 Victim: 1 Suspect: 3 Suspected HT? N
R.S, Number: RS14:67B(2) Title: THEFT $5000-$24999
Attempted/Completed: COMPLETED Location Type: SPECIALTY STORE Number of Premises:
Criminal Activity 1: OTHER Weapon/Force Type 1: NONE
Offense Sequence Number: 4 Victim: 1 Suspect: 4 Suspected HT? N
R.S. Number: RS14:67B(2) Title: THEFT $5000-$24999
Attempted/Completed: COMPLETED Location Type: SPECIALTY STORE Number of Premises:
Criminal Activity 1: OTHER Weapon/Force Type 1: NONE
SUSPECT
Suspect Sequence Number: 1

i EXHIBIT

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Name: ASHTON JOHNSON Race: BLACK Sex: MALE
DOB: 22-FEB-1999 Age From: 23 To: 25 Ethnicity: NON-HISPANIC Resident?
Height From: 509 To: Weight From: 124 To: 150 Eye Color. BROWN
Hair Color: BLACK Hair Length: BRAIDED
Address: 4419 WERNER DR City/SvZip:NEW ORLEANS, LA 70126
Alcoho! Consumed? Computer Used? Drugs Used? Gaming Motive? Gang Related:
Armed: Hate/Bias: NONE

Can be Identified by Witness:
Identifiable Features: WHITE T-SHIRT, BLUE JEANS

Location:
Arrest Type: NONE Voluntary Statement? Local Check? YES State Check? YES NCIC Check? YES

Suspect Injury Codes: NONE

Suspect Sequence Number: 2

Name: RANDAL REID Race: BLACK Sex: MALE
DOB: 09-FEB-1994 Age From: 28 To: 30 Ethnicity: NON-HISPANIC Resident?
Height From: 510 To: Weight From: 165 To: Eye Color: BROWN

Hair Color: BLACK Hair Length: CREW CUT

Address: 5094 PANOLA MILL DR City/Svzip:LITHONIA, GA 30038

Alcohol Consumed? Computer Used? Drugs Used? Gaming Motive? Gang Related:

Armed: Hate/Bias: NONE

Can be Identified by Witness:
identifiable Features) WHITE T-SHIRT, BLUE JEANS AND FANNY PACK

Location:
Arrest Type: NONE Voluntary Statement? Local Check? YES State Check? YES NCIC Check? YES

Suspect Injury Codes: NONE

Suspect Sequence Number: 3

Name: ARMANDO WILLIAMS Race: BLACK Sex: MALE
DOB: 23-MAR-2001 Age From: 21 To: 25 Ethnicity: NON-HISPANIC Resident?
Height From: 510 To: Weight From: 130 To: Eye Color: BROWN

Hair Color: BLACK Hair Length: AFRO

Address: 3339 BRUXELLES ST City/SvZip:NEW ORLEANS, LA 70122

Alcohol Consumed? Computer Used? Drugs Used? Gaming Motive? Gang Related:

Armed: Hate/Bias: NONE

Can be Identified by Witness:
Identifiable Features: DARK BLUE HAT, BLUE SHIRT WITH DESIGN, BLUE JEANS, YELLOW SH

Location:
Arrest Type: NONE Voluntary Statement? Local Check? YES State Check? YES NCIC Check? YES

Suspect Injury Codes: NONE

Suspect Sequence Number: 4

Name: UNK UNK Race: BLACK Sex: MALE

DOB: Age From: To: Ethnicity:
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NON-HISPANIC Resident?
Height From: To: Weight From: To: Eye Color: BROWN
Hair Color: BLACK Hair Length: BRAIDED
Address: City/St/Zip:
Alcohol Consumed? Computer Used? Drugs Used? Gaming Motive? Gang Related:
Armed: Hate/Bias: NONE

Can be Identified by Witness:
Identifiable Features: BLACK SHIRT,DARK PANTS, MULTI COLOR SHOES

Location:
Arrest Type: NONE Voluntary Statement? Local Check? State Check? NCIC Check?

Suspect Injury Codes: NONE

WITNESS
None
PROPERTY
Property Owner or Property revd from: VICTIM 1 Desc. Code: 19 -- MERCHANDISE
Loss Type:7 --STOLEN Quantity: 1 Value: $5,242 Insured:
Owner-applied Number: 001 Make: CHANEL
Model: Serial Number:
Description. BLACK CHANEL PURSE Date Recovered:
Property Owner or Property revd from: VICTIM 1 Desc. Code: 19 -- MERCHANDISE
Loss Type:7 -- STOLEN Quantity: 1 Value: $4,586 Insured:
Owner-applied Number: 001 Make: CHANEL
Model: Serial Number:
Description: RED CHANEL PURSE Date Recovered:
Property Owner or Property revd from: VICTIM 1 Desc. Code: 19 -- MERCHANDISE
Loss Type: 7 -STOLEN Quantity: 1 Value: $3,058 Insured:
Owner-applied Number: 001 Make: LOUIS VUITTON
Model: Serial Number:
Description: BROWN LOUIS VUITTO Date Recovered:
VEHICLE
None
CRIME SCENE
None
INVESTIGATION
INSURANCE
None
APPROVAL

Sergeant Viewed Lieutenant Viewed Dist. Cmdr. Viewed

UserID: JPSO_110551
Date/Time: 22-JUL-2022 12:32

User ID: JPSO_110551 Date/Time: 22-JUL-2022 12:32

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FINAL APPROVAL
Crime Prevention Officer Required? Issued Complaint Slip? 911 Notified? Warrant?
Parade Related? Crime Scene Required? Report Status: COMPLETED
Exceptional Clearance: Date:

District Follow Up?

Bureau Follow Up?

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NARRATIVE
Time Stamp: 07/20/2022 11:29 Written By: ANDREW BARTHOLOMEW

On July 6, 2022, Detective Bartholomew of the Criminal Investigations Bureau- Economic Crimes Section,
was assigned the follow-up investigation of a theft.

On June 30, 2022, the victim and storeowner of Second Act consignment store, Pamela Baldassaro, reported
that on June 22, 2022 at approximately 1630 hours, two unknown black males entered her store and purchased
a black Chanel purse for $5,241.60 and a brown Louis Vuitton purse for $3,057.60. These items were
purchased with a MasterCard ending in 6002. Upon viewing the video, the Deputy observed one heavy set
black male, clad in a white t-shirt and blue jeans with a fanny pack on his shoulder. The second black male
was thin, with braided hair, facial hair, clad in a white t-shirt and blue jeans. The heavyset black male
attempted to enter the credit card number into the machine. After several attempts, the transaction was
granted, purchasing the black Chanel purse and brown Louis Vuitton purse.

Baldassaro then advised that on June 23, 2022 at approximately 1650 hours, a different pair of two unknown
black males entered her store and purchased a red Chanel purse for $4,586.40. This item was also purchased
with a MasterCard ending in 6002. Upon viewing the video, the Deputy observed one black male was thin,
wearing a blue hat, blue shirt with a design, blue jeans and yellow shoes. The second was medium build black
male, with braided hair, clad in a black shirt with dark writing, dark colored sweat pants with bright writing and
blue colored shoes. The thin black male in the blue hat, is observed looking at his phone while writing on a
small piece of paper for the employee. This suspect conducted one transaction that was approved for a total

of $4,586.40.

Baldassaro stated on June 30, 2022, she was contacted by Hancock-Whitney Bank, and was advised that the
charges were disputed by the owner of the MasterCard and reimbursement would not be issued. Pamela was
able to confirm the two purchases on June 22 and June 23 were made using the same credit card information.

Baldassaro advised that she attempted to file for reimbursement through their merchant service, First Data,
and was advised they would not provide reimbursement since the customer entered the card information

manually.

Baldassaro was not working the two days the incidents occurred, but spoke with her employees in regards to
what happened. Baldassaro's employee advised on June 22, 2022, the suspect stated he was going to pay via
Apple Pay, but after "attempting," he stated, "I'll just put the numbers in.” The suspect attempted eight
transactions, which were declined, and then two transactions that were approved. One for $5,241.60 and one

for $3,057.60, totaling $8,299.20.

Detective Jody Kaough was notified of the incident while assigned evening duty, and responded to the scene
where he obtained a USB copy of video surveillance, and copies of each receipt for all declined transactions
and confirmed transactions. Detective Kaough forwarded the information and evidence to Detective

Bartholomew.

Detective Bartholomew reviewed the surveillance video and was able to utilize still photographs from the
video to identify three of the four suspects.

Detective Bartholomew was advised by a credible source that the two males from the surveillance video on
June 22, 2022, were Randal Reid (heavyset black male) and Ashton Johnson (thin black male with braids).
Detective Bartholomew conducted a search of both names, which resulted in the following: A DMV photograph
of a Randal Quran Reid (B/M, DOB: 02/09/1994), which appeared to match the description of the suspect from
the surveillance video. The search for Ashton Johnson resulted in a DMV photograph of an Ashton Malik
Johnson (B/M, DOB: 02/22/1999), which appeared to match the description of the suspect from the surveillance
video, and is a wanted subject out of New Orleans.

In reference to the suspects on June 23, 2022, Detective Bartholomew was advised by a credible source that
the male clad in a hat, blue shirt with a design, and yellow shoes from the surveillance video was Armando
Williams. Detective Bartholomew conducted a search of Armando Williams, which resulted in a DMV
Photograph of Armando Jacob Williams (B/M, DOB: 03/23/2001) which appeared to match the description of the
suspect from the surveillance video.

On July 18, 2022, Detective Bartholomew authored arrest warrants for Randal Quran Reid (B/M, DOB:
02/09/1994), and Ashton Malik Johnson (B/M, DOB: 02/22/1999). Detective Bartholomew charged them each with
ten counts of R$14:71.1 Bank Fraud, ten counts of RS14:67.16 C(1) Identity Theft $1000 or more, and one

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count of RS14:67 B(2) Theft $5000-24999. Detective Bartholomew forwarded this warrant and its supporting
affidavit to the Honorable Commissioner Paul Schneider of the 24th Judicial District Court via the CloudGavel
computer program. Commissioner Schneider endorsed this warrant with his digital signature thereby
authorizing it. Detective Bartholomew forwarded this warrant to NCIC, so that it could be placed into their
computer program as active.

On July 19, 2022, Detective Bartholomew authored an arrest warrant for Armando Jacob Williams (B/M, DOB:
03/23/2001), charging him with one count of RS14:71.1 Bank Fraud, one count of RS14:67.16 C(1) Identity Theft
$1000 or more, and one count of RS14:67 B(3) Theft $1000-4999. Detective Bartholomew forwarded this
warrant and its supporting affidavit to the Honorable Commissioner Paul Schneider of the 24th Judicial
District Court via the CloudGavel computer program. Commissioner Schneider endorsed this warrant with his
digital signature thereby authorizing it. Detective Bartholomew forwarded this warrant to NCIC, so that it
could be placed into their computer program as active.

Detective Bartholomew logged the USB, printed receipts, and copies of the disputed transactions charged
back to the business into Economic Crimes Evidence Book #9 on page #60.

Detective Bartholomew is suspending this case pending the arrests of Randal Reid, Ashton Johnson,
Armando Williams, and the identification of the fourth suspect.

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